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                                       UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS DALLAS DIVISION

UNITED STATES OF AMERICA                                               §       JUDGMENT IN A CRIMINAL CASE
                                                                       §
v.                                                                     §
                                                                       §       Case Number: 3:14-CR-00287-N(1)
ALYSSA NEYLAND                                                         §       USM Number: 48911-177
                                                                       §       Camille M Knight
                                                                               Defendant’s Attorney
                                                                       §
THE DEFENDANT:
☐ pleaded guilty to count(s)
      pleaded guilty to count(s) before a U.S. Magistrate
☒ Judge, which was accepted by the court.                     Count 1 of the Indictment filed July 22, 2014
      pleaded nolo contendere to count(s) which was
☐     accepted by the court
      was found guilty on count(s) after a plea of not
☐     guilty

The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense                                                                   Offense Ended          Count
18:2115 and 2 Burglary Of A United States Post Office                                                 11/30/2011             1




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count(s)
☒ Count(s) 2 and 3 of the Indictment ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.



                                                              SEPTEMBER 21, 2015
                                                              Date of Imposition of Judgment




                                                              Signature of Judge


                                                              DAVID C. GODBEY, UNITED STATES DISTRICT JUDGE
                                                              Name and Title of Judge

                                                              SEPTEMBER 25, 2015
                                                              Date
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DEFENDANT:                  ALYSSA NEYLAND
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                                                       IMPRISONMENT

         Pursuant to the Sentencing Reform Act of 1984, but taking the Guidelines as advisory pursuant to United States v. Booker,
and considering the factors set forth in 18 U.S.C. Section 3553(a), the defendant is hereby committed to the custody of the United
States Bureau of Prisons to be imprisoned for a total term of:

4 ½ months as to count 1.

☐ The court makes the following recommendations to the Bureau of Prisons:



☒ The defendant is remanded to the custody of the United States Marshal.
☐ The defendant shall surrender to the United States Marshal for this district:

        ☐ at                                      ☐     a.m.       ☐     p.m.      on

        ☐ as notified by the United States Marshal.

☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        ☐ before 2 p.m. on
        ☐ as notified by the United States Marshal.
        ☐ as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                   to


at                                     , with a certified copy of this judgment.



                                                                             _______________________________________
                                                                                           UNITED STATES MARSHAL

                                                                                                    By

                                                                             _______________________________________
                                                                                        DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                    ALYSSA NEYLAND
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                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : Three (3) years as to Count 1.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.

☐ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
     substance abuse. (Check, if applicable.)
☒    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.    (Check, if applicable.)

☒ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
☐ The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
     seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
     resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
☐    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                  STANDARD CONDITIONS OF SUPERVISION
    1.    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2.    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3.    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4.    the defendant shall support his or her dependents and meet other family responsibilities;
    5.    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6.    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7.    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8.    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9.    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
    10.   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
    11.   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12.   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
    13.   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
          compliance with such notification requirement.
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                                SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in the Location Monitoring Program for a period of 135 consecutive days at the
beginning of the term of supervision. During this time, the defendant is continuously restricted to her place of
residence except for authorized absences approved in advance by her U.S. Probation Officer. The U.S.
Probation Officer may approve absences for gainful employment, religious services, medical care, education
and training programs, and other activities. Location monitoring may be used to monitor compliance with this
special condition and may include remote location monitoring using Global Positioning Satellite (GPS)
tracking.

The defendant shall participate in a program (inpatient and/or outpatient) approved by the U.S. Probation Office
for treatment of narcotic, drug, or alcohol dependency, which will include testing for the detection of substance
use or abuse. The defendant shall abstain from the use of alcohol and/or all other intoxicants during and after
completion of treatment.

The defendant shall participate in mental health treatment services as directed by the probation officer until
successfully discharged. These services may include medications prescribed by a licensed physician.

The defendant shall pay any remaining balance of restitution in the amount of $20, as set out in this Judgment.


Pursuant to the Mandatory Victims Restitution Act of 1996, the defendant is ordered to pay restitution in the
amount of $20, payable to the U.S. District Clerk, 1100 Commerce Street, Room 1452, Dallas, Texas 75242.
Restitution shall be payable immediately and any unpaid balance shall be payable during incarceration.
Restitution shall be disbursed to:
                                                      $20
                                               Amber Pharmacy
                                          Attention: Paul Christensen
                                      Re: Mail theft, November 30, 2011



If upon commencement of the term of supervised release any part of the restitution remains unpaid, the
defendant shall make payments on such unpaid balance in monthly installments of not less than 10 percent of
the defendant's gross monthly income, or at a rate of not less than $5 per month, whichever is greater. Payment
shall begin no later than 60 days after the defendant's release from confinement and shall continue each month
thereafter until the balance is paid in full. In addition, at least 50 percent of the receipts received from gifts, tax
returns, inheritances, bonuses, lawsuit awards, and any other receipt of money shall be paid toward the unpaid
balance within 15 days of receipt. Furthermore, it is ordered that interest on the unpaid balance is waived
pursuant to 18 U.S.C. § 3612(f)(3).
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DEFENDANT:                   ALYSSA NEYLAND
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                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                Assessment                                Fine                                         Restitution
TOTALS                                              $100.00                                $.00                                            $20.00

☐ The determination of restitution is deferred until  An Amended Judgment in a Criminal Case (AO245C) will be entered
  after such determination.
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18
         U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution of $20.00 to:

         Amber Pharmacy

☐ Restitution amount ordered pursuant to plea agreement $
☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
☒     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      ☒ the interest requirement is waived for the          ☐ fine                              ☒ restitution
      ☐ the interest requirement for the                        ☐ fine                                ☐ restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                    ALYSSA NEYLAND
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☒     Lump sum payments of $ 20 due immediately, balance due

      ☐     not later than                                     , or

      ☐     in accordance                ☐       C,          ☐        D,        ☐       E, or        ☐       F below; or

B     ☐     Payment to begin immediately (may be combined with                  ☐       C,           ☐       D, or              ☐       F below); or

C     ☐     Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                               (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐     Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                              (e.g., months or years), to commence               (e.g., 30 or 60 days) after release from imprisonment to a term of
            supervision; or

E     ☒     Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ☒     Special instructions regarding the payment of criminal monetary penalties:
            It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1 which shall be due
            immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.
            Restitution is not due and payable ahead of the schedule set for in this judgment, nor may the United States collect payment in
            advance of that schedule through garnishment or otherwise, absent further order of the Court, except that at least 50 percent of
            the receipts received from gifts, tax returns, inheritances, bonuses, lawsuit awards, and other receipt of money shall be paid
            toward the unpaid balance within 15 days of receipt.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 Joint and Several
      See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
      Amount, and corresponding payee, if appropriate.

      ☐ Defendant shall receive credit on her restitution obligation for recovery from other defendants who contributed to the same loss that gave
      rise to defendant's restitution obligation.
☐     The defendant shall pay the cost of prosecution.
☐     The defendant shall pay the following court cost(s):
☐     The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
